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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:22-CR-129-TLN
12                                 Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           ORDER
14   MARCELLO MARLO RIVERA,                               DATE: July 21, 2022
                                                          TIME: 9:30 a.m.
15                                 Defendant.             COURT: Hon. Troy L. Nunley
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on July 21, 2022.

21          2.       By this stipulation, defendant now moves to continue the status conference until August

22 25, 2022, at 9:30 a.m., and to exclude time between July 21, 2022, and August 25, 2022, under Local

23 Code T4.

24          3.       The parties agree and stipulate, and request that the Court find the following:

25                   a)     The government has represented that the discovery associated with this case

26          includes approximately 311 pages of investigative reports, photographs, and other documents

27          and materials. All of this discovery has been either produced directly to counsel and/or made

28          available for inspection and copying.


      STIPULATION REGARDING EXCLUDABLE TIME               1
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 1                   b)     Counsel for defendant desires additional time review the discovery, evaluate

 2          potential defenses, conduct defense investigation, consult with his client, and otherwise prepare

 3          for trial.

 4                   c)     Counsel for defendant believes that failure to grant the above-requested

 5          continuance would deny him the reasonable time necessary for effective preparation, taking into

 6          account the exercise of due diligence.

 7                   d)     The government does not object to the continuance.

 8                   e)     Based on the above-stated findings, the ends of justice served by continuing the

 9          case as requested outweigh the interest of the public and the defendant in a trial within the

10          original date prescribed by the Speedy Trial Act.

11                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12          et seq., within which trial must commence, the time period of July 21, 2022 to August 25, 2022,

13          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

14          because it results from a continuance granted by the Court at defendant’s request on the basis of

15          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

16          of the public and the defendant in a speedy trial.

17          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

19 must commence.

20          IT IS SO STIPULATED.

21

22
      Dated: July 15, 2022                                     PHILLIP A. TALBERT
23                                                             United States Attorney
24
                                                               /s/ DAVID W. SPENCER
25                                                             DAVID W. SPENCER
                                                               Assistant United States Attorney
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      STIPULATION REGARDING EXCLUDABLE TIME                2
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     Dated: July 15, 2022                           /s/ DOUGLAS BEEVERS
 1                                                  DOUGLAS BEEVERS
                                                    Counsel for Defendant
 2
                                                    MARCELLO MARLO RIVERA
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 5                                           ORDER
 6        IT IS SO FOUND AND ORDERED this 15th day of July, 2022.
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                                                      Troy L. Nunley
11                                                    United States District Judge

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     STIPULATION REGARDING EXCLUDABLE TIME      3
     PERIODS UNDER SPEEDY TRIAL ACT
